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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION

KORONE ROBINSON, )

)

Plaintiff, )

vs. )
) CIVIL CASE NO. 2:17-cv-99

)

CITY OF DARIEN, DARIEN POLICE )

DEPARTMENT, DONNIE HOWARD, )

RYAN ALEXANDER AND )

JOSEPH CRESWELL, )

Defendants. )

)

 

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Personally appeared before the undersigned officer duly authorized to administer oaths
Korone Robinson, who, after being duly sworn on oath, being over the age of twenty-one (21), who
is legally competent to testify, deposes and says the facts stated herein are true and are stated upon
the personal knowledge of the undersigned for use in any manner allowed by law in the above case:

l. I began volunteering on a part-time basis assisting with narcotics investigations when l was
when I was employed with Jesup Police Department. I had always wanted to be a narcotics
investigator and would spend the majority of my off duty time assisting or observing

narcotics investigations I continued to assist with or observe narcotics investigations when I

went to work for Glynn County Police Department and from there when I worked for

Brunswick Police Department.

2. On April 10, 2015 Lt. Alexander had a meeting with me and Miller to discuss our
traveling in the same vehicle. He advised that Captain Davis and Chief Howard felt “it

doesn’t look good” when we “ride around” together He said he was receiving pressure

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for us to not be seen in a vehicle together, At this time I was still living with my
girlfriend at the time, Amanda Mosley, and was not engaged in a romantic relationship
with Miller. During the meeting Lt. Alexander did not discuss, question, or allege, that
Miller and I were involved in a romantic relationship Lt. Alexander advised that he did
not have an issue with us traveling in a vehicle together, He did not cite to any policy in
the DPD Standard Operating Procedure or the City Employee Manual as a source for the
directive He only requested that we provide him with prior notice when we needed to
travel together, or even if we decided to go to lunch together, that way if a situation
required investigators to respond to different locations he would already know where we
were. He also explained that this Would help him be prepared if Cpt. Davis or Chief
Howard made a comment about seeing us together,

. By April 2015 I had experience assisting with narcotics investigations with four (4) local
state law enforcement agencies and two (2) Federal law enforcement agencies (the ATF
and DEA). Due to the nature of narcotics investigations, it is customary for an
investigator not to meet confidential informants or execute a controlled buy- Where I
attempt to purchase illegal substances from a suspect- alone. The best option is to take
another plain clothes investigator. You would not take uniformed officers because their
presence makes the meeting highly visible to onlookers and undermines the trust the
informant has in the investigator to keep their identity and involvement confidential.

. In my nearly three (3) years Working for DPD I had yet to experience a situation which
required the immediate simultaneous response of investigators to separate locations

Investigators are not dispatched by the communications center. Dispatch notifies patrol

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officers who respond to the scene and secure it. Only after patrol has responded,
analyzed the situation, secured the scene and taken statements is the matter then referred
to investigations and often not even on the same day. lnvestigators are not the first
responders to the scene.

. After the April 10, 20l5 meeting Miller and I continued to accompany each other when
necessary for our respective investigations and per the directive we had been given we
would notify Lt. Alexander. We would speak with him directly when it was possible but
due to his part time status and the fact that he worked full time during the day for Glynn
County Sheriff’s Office, we often had to notify him by sending a text message or leave
him a voicemail.

In summer 2015 I lost my private vehicle and began driving my DPD issued vehicle
exclusively. The Chief was aware of this fact and saw me on numerous occasions driving
my DPD issued vehicle off duty for personal reasons. On one occasion he saw me at a
local restaurant in another county, on another he saw me at a store. He would make
statements to me which supported my use of my DPD issued vehicle as my personal
vehicle. On one occasion l parked my DPD vehicle at a gas station and rode with a friend
to the store to purchase beer and when I returned to the gas station the Chief Was walking
out of the store and asked me “why didn’t you take your truck?” 1 explained that I was
not going to drive the DPD vehicle to the liquor store to purchase beer and he agreed with
my judgment Lt. Alexander was also aware I no longer had a private vehicle. In
December 2015 Miller and I went to a concert with Lt. Alexander and his wife, this was

the same timeperiod we disclosed we were dating. I drove to the concert in my DPD

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vehicle and after the concert he instructed me to go to his house to swap my work truck

for one of his private trucks because we wanted to go to a tavem.

. l wrote a letter to myself in August 2015 about what l was feeling towards Miller and
opportunity she would be sacrificing if she got into a relationship with me. Miller and
her husband were already separated but her estranged husband was a white man with a
respectable military career and ability to provide for a wife and family. l believed he Was
the perfect example of how simple and acceptable a relationship With him would be in
stark contrast to what a relationship with a black man would entail. I was reminding
myself how accepting the world is and would be of any relationship she had with him in
terms of society, acceptance of their potential children, and even the standard of living he
could provide. I wanted to be sure that my feelings were serious enough to warrant
pursuing a relationship with her first. The letter is symbolic and cannot be taken literally
otherwise it makes no sense at all. At the time I wrote the letter Miller and her husband
were already separated, they had no children, they were not attempting to reconcile,
Miller had not discussed even thinking about reconciling, and she did not know my true
feelings.

. On or about January 6, 2016, DPD, with the assistance of the DEA, and Camden and
Mclntosh counties’ Special Response Teams (SRT), we executed arrest warrants for Joe
Black as a result of my investigation.. After the arrest, Alexander took exclusive control
of the case terminating my involvement and publicly took credit for my efforts as his
own. This was the first time Alexander excluded had me from any investigation After

Black Was arrested Alexander ordered me to notify him before I took any action in any

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investigation Prior to this occasion l had always had substantial leeway to conduct my
investigations and only had to brief Lt. Alexander regarding my progress. He did not
provide an explanation for the change in procedure.

On January 8, 2016 Lt. Alexander instructed Miller to transfer to the evening shift. He
never provided explanation or instructions regarding her transfer to the evening shift.

On January 16, 2016 l traveled to Atlanta with Miller. We previously notified Lt.
Alexander and Chief Hoard we Were going to a wedding for one of Miller’s friends in
Atlanta, Georgia. Due to the fact we would be off duty when we went out of town we
did not inform Lt. Alexander that we would be riding in a vehicle together, Chief Howard
and Lt. Alexander both knew that neither Miller nor l had a private vehicle and we both
drove our DPD vehicles exclusively. After returning from Atlanta Lt. Alexander advised
he was angry we had ridden together and on February 3, 2016, he instructed me and
Miller to meet with him and Cpt. Davis.

Miller’s meeting was first. Later that day Chief Howard reassigned her to Lt. Anthony
Brown’s chain of command and from that day forward Miller reported to and work under
Lt. Brown exclusively. During my meeting Lt. Alexander advised me he was suspending
me for three (3) days for violating his prior direct order from April 10, 2015 not to ride in
a vehicle with Miller and for driving my DPD issued truck to Atlanta, During the
meeting Cpt. Davis assured me I was not in trouble for driving to Atlanta while Lt.
Alexander focused his attention on the fact that Miller Was in the vehicle with me at all.
At that time the only explanation that made sense was that Lt. Alexander must have

actually been ordered back in April to forbid me and Miller from ever riding together

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even if it was not based on official policy. We never had any further discussion, verbal or
written, about his order to provide notice nor had he ever forbidden us from riding in a
vehicle together, rather he merely ordered us to notify him. However, l was not going to
betray his confidence or be the reason Cpt. Davis focused his attention Lt. Alexander’s
actual order from April 10th. At that time 1 still believed Lt. Alexander would have a
reasonable explanation for his actions so I remained silent believing he would speak to
me privately. Historically whenever Lt. Alexander would instruct me to do or not do
something, from specific orders to changes in investigation procedure, he had had always
spoken to me privately and explained his true motivation for his actions. After the
meeting l waited for Lt. Alexander to call but he never did. l did not appeal the
suspension because I had already spent the three (3) days at home and with Miller
transferred to Lt. Brown’s command and l mistakenly believed there would not be any
further issues.

l continued under Lt. Alexander’s command sol continued to give advance notice when l
would ride With Miller on the very limited occasions it was necessary for us accompany
each other to meet an informant or execute a controlled buy. At no point did Lt.
Alexander ever modify his directive to order I never ride in a vehicle with Miller.

Lt. Alexander attempted to suspend me again in March 2016. On this occasion he did not
ask a single question instead he immediately announced he was suspending me for
allegedly contacting Verizon Wireless and claiming DPD had an officer abroad. After he
had suspended iri me February for violating an order he had never given and then failed

to speak to me privately as Was his normal behavior I knew l needed to defend myself. I

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immediately produced my phone and showed Lt. Alexander the text messages from the
City Manager. During my deposition testimony I mistakenly said the incident occurred in
May 2016, however the terrorist attack which prompted my conversation with the City
manager occurred in March 2016. By this time I was shocked and seriously disturbed by
the increasingly hostile attempts my once best friend was now making to ruin my career.
On May 3, 2016 1 was suspended for allegedly working with the Sheriff’s Office. Lt.
Alexander was attempting to punish me for fictional misconduct, just as he had in
January, February, and March. I knew appealing to the same Chief who at that moment
was allowing Alexander to degraded me and who was also aware of his prior actions,
Would have only resulted in being accused of additional misconduct After the meeting
Chief Howard asked me to take a drive. During our private conversation he offered to
arrange for me to speak with T.J. Kidder. However, he never said anything about lifting
the suspension or that he was only giving me time off until Mr. Kitter cleared me to work.
Chief Howard did not express any concern regarding my mental state or fitness for duty,
merely concern I seemed to be under a lot of stress. I contacted and met with Mr. Kidder
the same day yet could not return to work until the end of two weeks.

I did not hang the Nazi Swastika flag I found in my issued vehicle at either DPD location.
It hung on the front of Lt. Alexander’s desk at the new PD location until sometime in
2016 when Lt. Alexander resigned. Chief Howard did make a comment about the flag on
one single occasion while we were still housed in the old PD location He advised it
should not be displayed in a humorous tone but he did not instruct me to take it down.

This was the only comment he ever made in my presence regarding the flag. Due to his

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apparent amusement with the flag l made a joke about the flag representing “‘my people"
to feel less awkward under the circumstances

'I`he DPD Standard ()perating Procedure contains specific provision in Chapter 12
expressly forbidding an officer from engaging in a pursuit of a suspect vehicle while any
civilian in any capacity is in the vehicle l)espite the express prohibition Officer
l)obberly had his girlfriend in his patrol vehicle during a high speed chase of a suspect
and she continued to ride in his patrol vehicle on multiple occasions after that date

No one from DPD ever informed me what would happen once my timet`rame to find a
new job had expired l believed that if Chief Howard went through with forcing me to
leave, contrary to what my supervisor .loe Creswell was leading me to believe, I would be
called in and told to resign or be terminated Being given the express choice between
resignation and termination was the actual method used for terminating every other
ofticer, with the sole exception of Nicholas Roundtree who resigned in lieu of
termination, the Chief had practiced the entire time he had been the Chief of Police.
Every other officer. except Roundtree, was given the choice without having the grounds

for their forced departure issued as written discipline for inclusion in their personnel files.

 

 

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Expires 1119/2020 Korone Robinson

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My Commission Expires: _ZMM

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